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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION


 OSCAR DOZIER, individually on
 behalf of himself and other similarly
 situated employees,

       Plaintiff,
                                          CASE NO. 3:18-cv-972-J-39MCR
 v.
                                                JURY DEMAND
 DBI SERVICES, LLC. a Foreign
 Limited Liability Company,

       Defendant.
 ________________________________/

               JOINT MOTION TO APPROVE FLSA SETTLEMENT
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       Plaintiff, Oscar Dozier, and Defendant, DBI Services, LLC, (collectively the

 “Parties”) have reached a settlement in this lawsuit. See Settlement Agreement,

 attached as Exhibit (“Ex.”) A. Accordingly, the Parties file this Joint Motion to

 Approve Settlement and jointly ask the Court to enter a final order approving the

 settlement of this action pursuant to 29 U.S.C. §216(b) of the Fair Labor

 Standards Act (“FLSA”), and dismissing this case with prejudice, while retaining

 jurisdiction to enforce the terms of the Parties’ settlement.

    BRIEF IN SUPPORT OF JOINT MOTION TO APPROVE SETTLEMENT

       A.     Background and Procedural History

       The Court is well-aware of the background and procedural history

 concerning this FLSA collective action lawsuit, which has been the subject of

 extensive litigation over the past three years. See ECF Nos. 1 – 116, generally. On

 August 10, 2018, Plaintiff, Oscar Dozier, filed this FLSA Collective Action lawsuit

 against his former employer, DBI Services, LLC. See ECF No. 1. There, Plaintiff

 alleges that he worked for Defendant as an on-call Technician, was compensated

 on an hourly basis, and was required to complete a Daily Vehicle Inspection and

 corresponding report (“DVIR”) that took at least twenty (20) minutes to

 complete, off-the-clock, which led to unpaid overtime wages, in violation of the

 FLSA. Id. On September 11, 2018, Defendant moved to dismiss the Complaint.

 ECF No. 12. On April 1, 2019, Plaintiff filed his Motion to Conditionally Certify



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 the Collective Action.    See ECF No. 20.     On July 3, 2019, Magistrate Judge

 Richardson entered a Report and Recommendation denying Defendant’s Motion

 to Dismiss. See ECF No. 32. On July 17, 2019, Defendant filed an Objection to the

 Report and Recommendation. See ECF No. 33. On August 6, 2019, the Court

 overruled Defendant’s Objections. See ECF No. 35.

       On August 15, 2019, Defendant filed its Answer to Plaintiff’s Complaint.

 See ECF No. 36.      Defendant denies the allegations set forth in Plaintiff’s

 Complaint, and denies that Plaintiff was required to, or did, work off-the-clock.

 While Defendant indicates that it compensated the Plaintiff for the time he took

 to complete his DVIR inspections and reports, Defendant also asserts as an

 affirmative defense that it is not required to compensate the Plaintiff for the time

 it took him to complete the DVIRs either way because these activities are exempt

 from the FLSA’s overtime payment requirement and are de minimis and non-

 compensable preliminary and postliminary activities as a matter of law. Id. In

 addition, Defendant asserts as an affirmative defense, inter alia, that it acted in

 good faith to avoid the imposition of willfulness damages, that Plaintiff is not

 entitled to liquidated damages, that the claims are time barred, and that the

 putative class members are not similarly-situated.

       On February 24, 2020, the Court Granted Plaintiff’s Motion to Certify the

 collective action on behalf of “all hourly-paid technicians who work/worked for



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 DBI Services, LLC companywide within the last three years since August 10,

 2015, the date the Complaint was filed, who were/are required to complete DBI’s

 Daily Vehicle Inspection Report Inspection and/or related work and were not

 paid overtime premiums for overtime hours worked.” ECF No. 37, p. 10.

 Ultimately, 416 Opt-in Plaintiffs filed their consent to join, 10 of which later

 withdrew their consent to join form. See Docket, generally.

        Thereafter, the Parties participated in discovery, which includes the

 production of over 47,000 documents and depositions of the named Plaintiff and

 certain Opt-in Plaintiffs.      Ultimately, the Parties mediated this matter before

 Hunter Hughes, Esq., a well-respected class action mediator, on February 24,

 2021. The matter, however, was not resolved at that time.

        Thereafter, the Parties continued to discuss a potential resolution, and

 continued to exchange discovery.1             Preliminarily, the Parties attempted to

 informally discuss and brief some of the main issues that impeded the resolution

 of this matter. Ultimately, the Parties’ attempts to resolve this matter impassed.

        Thereafter, the Parties extensively litigated numerous hotly-contested

 issues, as reflected on the docket. See, e.g., ECF No. 84 (Plaintiff’s Motion to

 Amend Complaint); ECF No. 87 (Defendant’s Response to Plaintiff’s Motion to


 1 The Parties’ informal exchange of discovery that took place was significant. For example, one
 of the issues the Parties briefed/discussed was the issue of whether certain Opt-in Plaintiffs
 ever completed DVIRs/inspections in the first place. On this point alone, Plaintiff produced
 fifty-seven (57) declarations from the Opt-in Plaintiffs.


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 Amend Complaint); ECF No. 91 (Defendant’s Motion for Protective Order

 concerning electronic discovery); ECF No. 92 (Plaintiff’s Motion to Amend

 Scheduling Order); ECF No. 93 (Plaintiff’s Reply in support of Plaintiff’s Motion

 to Amend Complaint); ECF No. 96 (Plaintiff’s Response to Defendant’s Motion

 for Protective Order and request for Sanctions); ECF No. 98 (Defendant’s

 Response to Plaintiff’s Motion to Amend Scheduling Order); ECF No. 106

 (Plaintiff’s Motion to Compel Interrogatories); ECF No. 107 (Plaintiff’s Motion to

 Compel Complete Responses to Plaintiff’s Request for Production); ECF No. 112

 (Defendant’s Response to Plaintiff’s Motion to Compel Responses to Plaintiff’s

 Request for Production); ECF NO. 113 (Defendant’s Response to Plaintiff’s

 Motion to Compel Answers to Interrogatories).

       During that time, the Parties continued to complete the outstanding

 discovery in this matter, and Defendant served over ten thousand five hundred

 (10,500) discovery requests on the Plaintiffs. As a result, Plaintiff filed a Motion

 for Protective Order and requested representative discovery, Defendant filed its

 Response, Plaintiff sought Leave to File a Reply and filed his Reply, and

 Defendant filed a Sur-Reply brief. See ECF Nos. 95, 108, 111, 115 and 116.

       In the interim, the Parties continued their settlement negotiations and

 ultimately agree to terms to resolve this matter on July 4, 2021.




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 II.   Claims and Defenses

       The Complaint alleges violations of the overtime provisions of the FLSA.

 See ECF No. 1. In essence, Plaintiff alleges that he worked for Defendant as an

 on-call Technician, was compensated on an hourly basis, and was required to

 complete a DVIR/inspection that took at least 20 minutes to complete, off-the-

 clock, which led to unpaid overtime wages, in violation of the FLSA. Id. Plaintiff

 maintains that he is similarly situated to the Opt-in Plaintiffs.

       Defendant presents numerous defenses to Plaintiff and the Opt-in

 Plaintiffs’ claims that would completely negate the class claims. First, Defendant

 denies that Plaintiff and the putative class were required to, or did, complete

 their DVIR/inspections off-the-clock. Second, Defendant asserts that it is not

 required to compensate the Plaintiffs for the time they took to complete the DVIR

 inspections, either way, because these activities are exempt under the Employee

 Commuting Flexibility Act and/or constitute de minimis non-compensable work

 under the FLSA.       Third, Defendant also asserts that it is not required to

 compensate the Plaintiffs for the time they took to complete the DVIR

 inspections, the completion of which constitutes non-compensable preliminary

 and postliminary activities as a matter of law. Fourth, Defendant asserts that

 numerous Opt-in Plaintiffs never completed a DVIR inspection in the first place.




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       To the extent the Court does not accept Defendant’s complete defenses,

 Defendant also presents numerous partial defenses that would significantly

 diminish the Plaintiffs’ Claims if accepted. First, Defendant asserts that it acted

 in good faith to avoid the imposition of willfulness damages. Second, Defendant

 asserts that Plaintiff is not entitled to liquidated damages. Third, even if the

 Court is to find that Defendant violated the FLSA and that their violations were

 willful such that a three year (and not two year) statute of limitations should

 apply to this matter, Defendant asserts that the claims of numerous class

 members are nonetheless completely time-barred because they filed their consent

 to join forms more than three years after their employment ended with

 Defendant. Fourth, Defendant asserts that numerous Opt-in Plaintiffs worked in

 groups, and therefore could not have each completed a DVIR inspection and

 report each workday because only one Technician was required/permitted to

 complete a DVIR inspection and Report each workday on a vehicle.

       Defendant also vehemently maintains that the Plaintiffs are not similarly-

 situated, and that this matter should be decertified. To that end, Defendant first

 asserts that numerous Opt-in Plaintiffs were not employed by Defendant, but

 worked as Technicians for a related company, DeAngelo Brothers, LLC, that

 their names were inadvertently included in the Class List produced in response

 to the Court Order Certifying the Collective action, and that these individuals



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 should have never been included in this collective action in the first place.

 Second, Defendant asserts that the Opt-in Plaintiffs are not similarly-situated

 because they worked in various Technician positions across the country and

 were required to complete different primary duties. Third, Defendant asserts

 that many of the Plaintiffs simply worked as Technicians, and not on-call

 Technicians, and were therefore not similarly-situated to the Plaintiff or his off-

 the-clock allegations.       Fourth, Defendant asserts that the Plaintiffs are not

 similarly situated because they were employed by Defendant or DeAngelo

 Brothers, LLC at various worksites across the country, and worked under

 different managers and job conditions. Fifth, Defendant asserts that the Plaintiffs

 are not similarly-situated because the worksites that the Plaintiffs worked

 utilized different timekeeping tools.2          Sixth, Defendant asserts that different

 affirmative defenses apply to the Plaintiffs.3            Despite the many claims and

 defenses, the Parties have reached a resolution to settle this matter.

 III.   Overview of the Settlement Terms

        The proposed settlement agreement outlining the specific terms is attached

 as Ex. A.      Defendants will pay $1,500,000 to settle this collective action

 2 For example, Defendant asserts that while certain worksites utilized handwritten time records,
 other worksites utilized a digital Verizon mobile telephone app to clock-in and clock-out that
 requires the Technician’s complete their DVIR inspections by following a digital prompt that
 ensures they are clocked-in during their inspection time.
 3 For example, Defendant asserts that the Motor Carrier Act exemption applies to the

 Technicians that were employed by DeAngelo Brothers, LLC, who were required to cross state
 lines, whereas this defense may not apply to the Technicians employed by DBI Services, LLC.


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 (“Common Fund”) which includes all damages, taxes, fees, costs, and amounts of

 any kind. $969,674 of the Common Fund constitutes payments to the Plaintiff’s

 Class (“Plaintiff’s Class Fund”). The Plaintiff’s Class Fund shall be distributed

 on a pro rata basis. In addition, $7,500 of the Plaintiff’s Class Fund will constitute

 the named plaintiff, Oscar Dozier Service Award. $22,826 of the Common Fund

 is attributed to Plaintiff’s costs. Finally, one-third of the Common Fund, or

 $500,000, is attributed to Plaintiff’s attorneys’ fees and remaining costs.       The

 agreement also provides first class mailing of a Claim Form giving the members

 an opportunity to “opt-in” to the settlement agreement. The Opt-in Plaintiffs

 have 45 days to submit a Claim Form and release to Plaintiffs’ Counsel. The

 Parties’ proposed Class Member Opt-in Settlement Agreement and Release Form

 is attached as Ex. A p. 25.

       The Opt-in Plaintiffs’ respective recovery is outlined in Ex. A to the

 Settlement Agreement. See Ex. A pp. 12 – 24. As previously indicated, Plaintiff

 alleges in his complaint that the DVIR inspection/report took at least twenty (20)

 minutes to complete. To put things in perspective, if Plaintiff and every Opt-in

 Plaintiff—employed by Defendant or DeAngelo Brothers—worked forty (40)

 minutes off-the-clock five days a week, in every workweek during the three year

 (willfulness damages) period preceding the filing of each of their respective

 consent to join forms, they would collectively be entitled to receive $532,411.32 in



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  unpaid overtime back wages. Here, the settlement provides the Plaintiffs with

  $969,674 for the Plaintiff’s Class Fund. In essence, the Plaintiffs are each eligible

  to receive an amount that is almost double the amount they would be owed in

  unpaid overtime back wages had they worked forty (40) minutes off-the-clock

  for five days a week, for every workweek that they worked for the three year

  period that precedes the filing of their consent to join forms. This amount is

  distributed on a pro rata basis contingent on the Opt-in’s respective pay and time

  records. Moreover, to the extent an Opt-in is owed less than $100 based on this

  formula, the Opt-in will be eligible to receive $100 nonetheless, which shall be

  distributed from the Plaintiff’s Class Fund. Based on this damages estimate and

  formula, the Plaintiffs shall receive 50% of their pro rata share as a wage

  distribution, and 50% of their pro rata share as a liquidated damages distribution.

        The Settlement Agreement provides the Opt-in Plaintiffs with a fair and

  equitable result. If, however, an Opt-in Plaintiff elects to not participate in this

  collective action settlement, or otherwise fails to timely submit a Claim Form

  within the forty-five (45) day period, the Settlement Agreement provides that the

  non-participating Opt-in Plaintiff will not give up any of their rights to refile

  their unpaid wage claims against the Defendants, and that their statutory claims

  under the FLSA will be equitably tolled from the date of the filing of their

  consent to join form to the due date of their Settlement Claim Form. Ex. A, p. 25.



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  As a result, non-participating Opt-in Plaintiff’s pro rata settlement portion will

  revert back to the Defendants. Id. Accordingly, while Plaintiff believes that the

  Opt-ins will all be very satisfied with the class settlement, to the extent any Opt-

  in Plaintiff is not satisfied, or elects to not participate in this class settlement for

  any reason whatsoever, the Opt-in will not be prejudiced or forced to participate

  in this class settlement, and the Defendant will also not be prejudiced in that the

  non-participating Opt-ins’ pro rata share will revert back to the Defendant.

        The settlement agreement also provides that the named Plaintiff shall

  receive $7,500 as a service award, which “are typically awards to class

  representatives for their often extensive involvement with a lawsuit.” Hadix v.

  Johnson, 322 F.3d 895, 897 (6th Cir. 2003). Numerous courts have authorized such

  awards as “efficacious ways of encouraging members of a class to become class

  representatives and rewarding individual efforts taken on behalf of the class.”

  Id.; See also George v. Acad. Mortg. Corp. (UT), 369 F. Supp. 3d 1356, 1374 (N.D. Ga.

  2019) (awarding $7,500 to named Plaintiff in FLSA collective action).4

        In accordance with the legal principles outlined above, the Parties

  respectfully request the Court approve the Parties’ negotiated settlement of

  Plaintiffs’ FLSA claims. The instant adversarial action involves disputed factual

  and legal issues that could provide the Plaintiff and the putative class a complete

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   In addition and in exchange thereto, named Plaintiff Oscar Dozier will provide
  Defendant with a general release.

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  or partial bar to their claims. See Supra, at pp. 5 - 7. Ultimately, the Parties

  recognized the significant risks in proceeding with this collective action lawsuit.

  The Parties agree that the terms of settlement reached reflect a reasonable “give-

  and-take” on the major issues in dispute. Specifically, Defendant’s agreement to

  make any payment to Plaintiffs reflects a significant concession (for purposes of

  settlement only) with respect to application of the off-the-clock damages given its

  vigorous defense. The settlement also provides that the Plaintiffs will receive

  overtime compensation under the agreement for workweeks during which they

  may not have worked any overtime hours, were paid for overtime hours, or may

  not be able to reasonably prove their off-the-clock claims, to the extent the Court

  finds that this work is compensable and that the Plaintiffs are similarly-situated

  in the first place. The Parties agree that the negotiated terms of settlement reflect

  a reasonable compromise of all disputed issues, and that the negotiated

  settlement is in the Parties’ best interest.

        Finally, there can be no reason to not approve this settlement because the

  settlement agreement actually provides each and every Opt-in Plaintiff with the

  option of “opting-in” to the class settlement. To the extent any Opt-in Plaintiff is

  not satisfied, or elects to not participate in this class settlement for any reason

  whatsoever, the Opt-in Plaintiff will not be prejudiced or forced to participate in

  this class settlement, and the Defendant will also not be prejudiced in that the



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  non-participating Opt-in Plaintiff’s pro rata share will revert back to the

  Defendant. Again, while Plaintiff believes that the Opt-in Plaintiffs will all be

  satisfied with the class settlement, the fact that the Opt-in Plaintiffs can elect to

  not participate in this collective action means they cannot be prejudiced by same.

            Accordingly, the Parties ask the Court to approve the settlement according

  to the terms of the settlement agreement and enter an Order of dismissal with

  prejudice attached as Exhibit B.

  III.      Standard of Review

            There are two ways in which claims under the FLSA can be settled and

  released by employees. First, § 216(c) of the FLSA allows employees to settle and

  waive their claims under the FLSA if the payment of unpaid wages by the

  employer to the employee is supervised by the Secretary of Labor. See 29 U.S.C.

  § 216(c). Second, § 216(b) of the FLSA allows employees to settle and release

  their claims under the FLSA when a court reviews and approves a settlement in a

  private action for back wages. See 29 U.S.C. § 216(b).

         “The federal courts have long recognized a strong policy and presumption in

  favor of class settlements.“ George, 369 F. Supp. 3d at 1367. “Compromises of

  disputed claims are favored by the courts.” Williams v. First Nat'l Bank, 216 U.S.

  582, 595 (1910).       Indeed, there is a “policy of encouraging settlement of

  litigation.” Lynn's Food Stores, Inc. v. U.S., 679 F.2d 1350, 1354 (11th Cir. 1982).



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  “Particularly in class action suits, there is an overriding public interest in favor of

  settlement.” Cotton v. Hinton, 559 F.2d 1326, 1331 (5th Cir. 1977); see also

  Murchison v. Grand Cypress Hotel Corp., 13 F.3d 1483, 1486 (11th Cir. 1994) (noting

  that the Eleventh Circuit Court of Appeals “favor[s] and encourage[s]

  settlements in order to conserve judicial resources.”).

        In detailing the circumstances justifying court approval of an FLSA

  settlement in the litigation context, the Eleventh Circuit has stated as follows:

        Settlements may be permissible in the context of a suit brought by
        employees under the FLSA for back wages because initiation of the action
        by the employees provides some assurance of an adversarial context. The
        employees are likely to be represented by an attorney who can protect
        their rights under the statute. Thus, when the parties submit a settlement
        to the court for approval, the settlement is more likely to reflect a
        reasonable compromise of disputed issues than a mere waiver of statutory
        rights brought by an employer’s overreaching. If a settlement in an
        employee FLSA suit does reflect a reasonable compromise over issues,
        such as FLSA coverage or computation of back wages that are actually in
        dispute, we allow the district court to approve the settlement in order to
        promote the policy of encouraging settlement of litigation.

  Lynn’s Food Stores, 679 F.2d at 1354. As outlined herein, the settlement of the

  instant action confers substantial benefits upon Plaintiffs of disputed issues. In

  essence, the settlement provides the Plaintiffs to receive an amount that is almost

  double the amount they would be owed in back wages had they successfully

  proved that they worked 40 minutes off-the-clock five times a week (or 200

  minutes per week) for every workweek that they worked for the three year

  period that precedes the filing of their consent to join forms where they would be



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  eligible to receive overtime pay.5 To the extent an Opt-in Plaintiff is owed less

  than $100 based on this formula, the Opt-in Plaintiff will be eligible to receive

  $100 nonetheless, which shall be distributed from the Plaintiff’s Class Fund.

      While Plaintiff believes that the Opt-in Plaintiffs will be very satisfied with the

  class settlement, to the extent any Opt-in Plaintiff is not satisfied, or elects to not

  participate in this class settlement for any reason whatsoever, the settlement

  agreement provides that the Opt-in Plaintiff will not be prejudiced or forced to

  participate in this class settlement, and their statutory claims under the FLSA

  will be equitably tolled from the date of the filing of their consent to join form to

  the due date of their settlement claim form. Ex. A, p. 25. Accordingly, the Court

  should approve the Parties’ settlement to resolve and release the Plaintiff’s FLSA

  claims against Defendant.

      a. The Settlement is Fair, Adequate, and Reasonable

         In deciding whether to approve the Settlement, the Court analyzes

  whether it is fair, adequate and reasonable. George, 369 F.Supp.3d at 1369; See

  also Leverso v. SouthTrust Bank, 18 F.3d 1527, 1530 (11th Cir. 1994). “A settlement

  is fair, reasonable, and adequate when the interests of the class as a whole are


  5 “Eligible to receive overtime pay” refers to workweeks where the additional 200 minutes off-
  the-clock would lead to overtime compensation. For example, an employee who is credited to
  have worked 10 hours in a particular workweek would not be eligible to receive overtime pay
  even if he was credited for working an additional 200 minutes, whereas an employee who is
  credited to having worked 39 hours would be eligible to receive overtime compensation had he
  been credited for having worked an additional 200 minutes.


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  better served if the litigation is resolved by the settlement rather than pursued.

  Importantly, the Court is not called upon to determine whether the settlement

  reached by the parties is the best possible deal, nor whether class members will

  receive as much from a settlement as they might have recovered from victory at

  trial.” Id. (internal citations omitted).

         The Eleventh Circuit has identified six factors to be considered in

  analyzing the fairness, reasonableness, and adequacy of a class settlement:

         (1) the existence of fraud or collusion behind the settlement;
         (2) the complexity, expense, and likely duration of the litigation;
         (3) the stage of the proceedings and the amount of discovery completed;
         (4) the probability of the plaintiffs' success on the merits;
         (5) the range of possible recovery; and
         (6) the opinions of the class counsel, class representatives, and the
         substance and amount of opposition to the settlement.

  Leverso, 18 F.3d at 1530 n.6; See also Bennett, 737 F.2d at 986. The analysis of these

  factors shows this Settlement is eminently fair, adequate and reasonable.

                1. There was no fraud or collusion.

     The Parties engaged in prolonged adversarial litigation and negotiations,

  demonstrating the absence of fraud or collusion behind the settlement. See,

  e.g., Lunsford v. Woodforest Nat’l Bank, 2014 WL 12740375, at *7 (N.D. G. May 19,

  2014); See also Ingram v. Coca-Cola Co., 200 F.R.D. 685, 693 (N.D. Ga. 2001) (court

  had “no doubt that this case has been adversarial”)). The Parties settled this

  Action after participating in mediation before Mr. Hughes, which further



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  confirms that the process was procedurally sound and not collusive. See,

  e.g., Hosier v. Mattress Firm, Inc., 2012 WL 2813960, at *3-4, 2012 U.S. Dist. LEXIS

  94958, at *10-11 (M.D. Fla. June 8, 2012). Finally, “the fact that the continued

  negotiations of settlement agreement terms and Notice documents were lengthy”

  and continued “after the initial mediation and involving additional negotiation”

  further demonstrates the absence of collusion. George, 369 F.Supp.3d at 1370.6

                 2. The Settlement Averts Years of additional Complex and
                    Expensive Litigation.

         “FLSA claims typically involve complex mixed questions of fact and

  law.” Barrentine v. Arkansas-Best Freight Sys., Inc., 450 U.S. 728, 743 (1981). As

  outlined, supra, the FLSA claims and defenses are complex; litigating them would

  be both difficult and time-consuming. Although this Action was litigated for

  three years before the Parties settled this matter, recovery by any means other

  than settlement would require additional years of litigation and trial.7

         In contrast, the Settlement provides immediate and substantial benefits to

  the Plaintiffs. Particularly because the “demand for time on the existing judicial



  6 See also In re Sunbeam Sec. Litig., 176 F.Supp.2d 1323, 1329 n.3 (S.D. Fla. 2001); Warren v. City of
  Tampa, 693 F.Supp. 1051, 1055 (M.D. Fla. 1988) (record disclosed no evidence of collusion, but to
  the contrary showed “that the parties conducted discovery and negotiated the terms of
  settlement for an extended period of time”), aff'd, 893 F.2d 347 (11th Cir. 1989)).
  7 see Lunsford, 2014 WL 12740375, at *7 (citing U.S. v. Glens Falls Newspapers, Inc., 160 F.3d 853,

  856 (2d Cir. 1998) (noting that “a principal function of a trial judge is to foster an atmosphere of
  open discussion among the parties' attorneys and representatives so that litigation may be
  settled promptly and fairly so as to avoid the uncertainty, expense and delay inherent in a
  trial”)).


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  system must be evaluated in determining the reasonableness of the

  settlement,” Ressler v. Jacobson, 822 F.Supp. 1551, 1554 (M.D. Fla. 1992) (citation

  omitted), there can be no doubt about the adequacy of the Settlement, which

  provides reasonable benefits to the class. Lunsford, 2014 WL 12740375, at *7.

               3. The factual record is sufficiently developed to enable class
                  counsel to make a reasoned judgment.

        Courts consider “the degree of case development that class counsel have

  accomplished prior to settlement” to ensure that “counsel had an adequate

  appreciation of the merits of the case before negotiating.” Lunsford, 2014 WL

  12740375, at *8 (citing In re General Motors Corp. Pick-up Truck Fuel Tank Prods.

  Liab. Litig., 55 F.3d 768, 813 (3d Cir. 1995)). At the same time, “[t]he law is clear

  that early settlements are to be encouraged, and accordingly, only some

  reasonable amount     of   discovery    should   be   required    to   make     these

  determinations.” Id. (quoting Ressler v. Jacobson, 822 F. Supp. 1551, 1555 (M.D. Fla.

  1992)). Here, Plaintiff settled the action with the benefit of extensive class and

  merits-based discovery. Class Counsel's review of the documents produced and

  depositions conducted positioned them to evaluate with confidence the strengths

  and weaknesses of Plaintiffs' claims, Defendant’s defenses, and the prospects for

  success on FLSA collective action decertification, willfulness and “good faith”

  defenses, summary judgments, and trial.




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        Prior to settling, Class Counsel developed ample information from which

  to assess the probability of success, the possible range of recovery, and the likely

  expense and duration of the litigation.    Even in the absence of such discovery,

  Class Counsel is familiar with the legal issues and likely defenses of employers

  on these overtime issues in off-the-clock collective actions. Plaintiff’s counsel,

  Michael N. Hanna, Esq., has extensive experience litigating wage and hour

  class/collective actions, including serving as lead counsel in one of the nation’s

  largest FLSA collective actions that involves over 3,400 class members in an off-

  the-clock case. See, e.g., Kutzback v. LMS Intellibound, LLC, 301 F. Supp. 3d 807

  (W.D. Tenn. 2018). “Information obtained from other cases may be used to assist

  in evaluating the merits of a proposed settlement of a different case.” Lunsford,

  2014 WL 12740375, at *8, 2014 U.S. Dist. LEXIS 200716, at *23 (citing Lipuma v.

  American Express Co., 406 F.Supp.2d 1298, 1325 (S.D. Fla. 2005)).

              4. Plaintiffs would have faced obstacles to prevailing and delay.

        The likelihood and extent of any recovery absent settlement is another

  important factor in assessing the reasonableness of a settlement. see Ressler, 822

  F. Supp. at 1555 (“A Court is to consider the likelihood of the plaintiff's success

  on the merits of his claims against the amount and form of relief offered in the

  settlement before judging the fairness of the compromise”). Here, Defendant

  vigorously disputes liability on the entire claim, and presents numerous defenses



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  to the substantive claims, as well as for decertification purposes. See Supra at pp.

  5-7. Apart from the risks, continued litigation would have involved substantial

  delay and expense, which further counsels in favor of approval. See George, 369

  F.Supp.3d at 1371.         “Given the risks attending these claims, as well as the

  certainty of substantial delay and expense from ongoing litigation and class

  certification/decertification proceedings, the Settlement cannot be seen as

  anything except a fair compromise.” Id.8

                 5. The benefits provided by the settlement are fair, adequate, and
                    reasonable compared to the range of possible recovery.

         “In determining whether a settlement is fair given the potential range of

  recovery, the Court is guided by the principle that ‘the fact that a proposed

  settlement amounts to only a fraction of the potential recovery does not mean the

  settlement is unfair or inadequate.’” George, 369 F. Supp. 3d at 1371 (citing Behrens

  v. Wometco Enters., Inc., 118 F.R.D. 534, 542 (S.D. Fla. 1988), aff'd, 899 F.2d 21 (11th

  Cir. 1990)). Here, however, each Plaintiff that elects to participate in the class

  settlement will receive a net settlement amount that is almost double the amount

  they would be owed in overtime back wages had they worked forty (40) minutes

  off-the-clock five days each week, for every workweek that they worked for the


  8 See also Lunsford, 2014 WL 12740375, at *8, (citing Bennett v. Behring Corp., 96 F.R.D. 343, 349-50
  (S.D. Fla. 1982), aff'd, 737 F.2d 982 (11th Cir. 1984) (plaintiffs faced a “myriad of factual and legal
  problems” creating “great uncertainty as to the fact and amount of damage,” making it “unwise
  [for plaintiffs] to risk the substantial benefits which the settlement confers ... to the vagaries of a
  trial”) ).


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  three year period that precedes the filing of their consent to join forms. Since

  Plaintiff alleges in his complaint that the DVIR inspection/report took at least

  twenty (20) minutes to complete off-the-clock, this settlement value likely

  provides each Opt-in close to, if not more than, their full estimated recovery for

  back wages and liquidated damages based on this damages scenario without any

  further delay. “Settling for close to the amount of full liability represents a

  respectable victory for the class members and therefore favors approval of

  settlement.” Creed v. Benco Dental Supply Co., 2013 WL 5276109 at *4, (M.D. Pa.

  Sep. 17, 2013). “The total settlement amount is fair and reasonable given the

  obstacles confronted and the complexity of the action, and the significant barriers

  that stood between the pre-settlement status of the case and final judgment,

  including the prospect of contested class certification/decertification and

  potential interlocutory Rule 23(f) appeal of any order granting class certification;

  motions for summary judgment; trial; and post-trial appeals.”          George, 369

  F.Supp.3d at 1372.

              6. The Opinions of Class Counsel, the Class Representative, and
                 Absent Class Members Favor Approval of the Settlement.

        The Court should give “great weight to the recommendations of counsel

  for the parties, given their considerable experience in this type of litigation.”

  Lunsford, 2014 WL 12740375, at *9 citing Warren, 693 F.Supp. at 1060. The Parties

  were represented by competent, experienced counsel with extensive experience

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  in wage and hour class and collective action litigation. Counsel for the Parties,

  having thoroughly vetted the legal, factual, and evidentiary issues in this case,

  recommend approval of this settlement. Pursuant to the FLSA, no party may be

  bound by a settlement unless they “opt in’’ to the case. 29 U.S.C. § 216 (b). As a

  result, there are also no “absent” class members.         Moreover, the Settlement

  Agreement allows the Opt-in Plaintiff to elect to not participate in this collective

  action settlement if they so desire. Since there are no “absent” class members

  being bound by this settlement, this factor also favors approval of settlement.

        In this case, all six factors point to a determination that the proposed

  settlement is “fair and reasonable.” Accordingly, the Parties ask the Court to

  approve the settlement according to the terms of the settlement agreement and

  enter an Order of dismissal with prejudice.

     b. Plaintiff’s Counsel is entitled to the requested attorneys’ fees and costs.

        The Supreme Court and Eleventh Circuit held that “attorneys who create a

  common fund are entitled to be compensated for their efforts from a reasonable

  percentage of that fund.” Stahl v. Mastec, Inc., 2008 WL 2267469, *1 (M.D. Fla.

  2008); citing Camden I Condominium Assoc., Inc. v. Dunkle, 946 F.2d 768, 774 (11th

  Cir. 1991) (“Henceforth in this circuit, attorneys’ fees awarded from a common

  fund shall be based upon a reasonable percentage of the fund established for the

  benefit of the class.”); See also Boeing Co. v. Van Gemert, 444 U.S. 472 (1980); In re



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  Checking Account Overdraft Litig., 830 F.Supp.2d 1330, 1362 (S.D.Fla. 2011) (“[T]he

  Eleventh Circuit made clear in Camden I that percentage of the fund is the

  exclusive method for awarding fees in common fund class actions”). In an FLSA

  collective action, “[a]lthough the Court must consider the reasonableness of any

  award of attorney's fees, it is not required to conduct an in-depth analysis of the

  award unless it is unreasonable on its face.” Vogenberger v. ATC Fitness Cape

  Coral, LLC, 2015 WL 1883537, at *5 (M.D. Fla. Apr. 24, 2015); Hosier v. Mattress

  Firm, Inc. 2012 WL 2813960 (M.D. Fla. June 8, 2012). In addition, the FLSA

  provides for a mandatory award of “Costs of the action to a prevailing plaintiff.”

  See 29 U.S.C. § 216(b); Glenn v. Gen Motors Corp., 841 F.2d 1567 (11th Cir. 1988).

         As reflected in the settlement agreement, Plaintiff seeks an award of

  $22,826 for reimbursement of some (but not all) of the costs incurred so far in the

  three years of collective action litigation.9              Plaintiffs’ attorneys’ fees and

  remaining cost10 award constitutes 1/3 of the common fund. “Courts within this

  Circuit have awarded attorney's fees of approximately one-third of a common


  9 The requested $22,826 award for costs is intended to reimburse Plaintiff’s counsel for some of
  costs, which includes filing costs, mediator costs, process server costs, court reporter costs,
  FedEx costs, and costs to Plaintiff’s third-party class action administrator, Simpluris, Inc., who
  processed the notice and consent to join form to the 3,262 thousand putative class members, as
  well as processing a reminder notice and consent form to the 3,262 putative class members.
  10 The remaining costs not included in the requested $22,826 cost award are extensive, and

  include, but are not limited to: 1) postage costs associated with First class mailing of the Claim
  Form and settlement checks to the Plaintiffs, which amounts to 1,218 mailings if all Plaintiffs
  elect to participate in this settlement; 2) all printing costs associated with this document-
  intensive collective action over the past three years; and 3) all long-distance telephone call
  charges associated with this nationwide collective action.


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  fund in FLSA and wage and hour cases.” George, 369 F. Supp. 3d at 1382

  (Approving Common Fund that provides Class Counsel’s fee paid at 33% of the

  $925,000 Settlement Fund, and an additional amount for costs and settlement

  administration costs); See also Reyes v. AT & T Mobility Servs., Ltd. Liab. Co., No.

  10-20837-Civ, 2013 WL 12219252, at *3, 2013 U.S. Dist. LEXIS 202820, at *10 (S.D.

  Fla. June 21, 2013) (approving fees for FLSA collective action settlement, holding

  “Class Counsel's request for one-third of the settlement fund is also consistent

  with the trend in this Circuit.); Adams v. Gilead Group, LLC, et. al., Case No. 3:16-

  cv-1566-J-PDB, ECF No. 107 (June 25, 2019) (awarding a few award of 33% of the

  Settlement fund in an FLSA collective action, and an additional $9,996.94 for

  costs); Freeman v. Trainingwheel Corp., LLC, 2020 WL 7401488 (M.D. Fla. June 26,

  2020) (Approving common Fund in FLSA Collective Action that provides

  Plaintiff’s counsel fees of 1/3 the Gross Settlement amount and reimbursement of

  their out-of-pocket costs).11          Furthermore, District Courts throughout the


  11See also Vogenberger, 2015 WL 1883537 (awarding 33% of common fund to Plaintiff’s counsel in
  FLSA collective action); Kemper v. Rent-A-Center, Inc., No. 4:00-cv-00435-RH-WCS [Dkts. 14-15]
  (N.D. Fla. 2000) (same); Graves v. Estes Heating & Air Conditioning, Inc., Case No. 3:14-cv-0084-
  TCB, Dkt. 47 (N.D. Ga. 2015) (awarding fee of 33.33% of the common fund in FLSA
  case);Encarnacion v. J.W. Lee, Inc., 2015 WL 6437686, at *4 (S.D. Fla. Oct. 22, 2015)
  (approving class and FLSA collective action settlement of $6,000,000, which included
  $1,641,686.06 as attorneys' fees and $18,763.94 for costs.); Stahl, 2008 WL 2267469 (Approving
  attorney award of 28.8% of the $13,137,365 common fund, or $3,659,365 for fees and costs in
  wage and hour class action); Signorelli v. Utiliquest LLC, 5:08-cv-38-OC-10GRJ, Docket Entry 46
  (July 25, 2008) (Hodges, J.) (awarding $3,000,000.00 for attorneys’ fees out of the $10,000,000.00
  common fund); Kreher v. City of Atlanta, Georgia, 2008 WL 113999561 (N.D. Ga. Sept. 30, 2008)
  (Approving common fund in FLSA Collective action that provides Plaintiff’s counsel $2,410,000
  from a $7,500,000 common fund, or 32.13%); Mosley v. Lozano Insurance Adjusters, Inc., 2021 WL


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  Country regularly award 30% to 50% for fees in class and collective actions. See,

  e.g., Whittington v. Taco Bell of Am., Inc., 2013 WL 6022972, at *6 (D. Colo. Nov. 13,

  2013) (Finding that the agreed upon 39% covering fees and costs was reasonable

  as a matter of law in an FLSA collective action).

         Plaintiffs’ request for approval of Class Counsel's 33% fee also falls within

  the range of the private marketplace, “where contingency-fee arrangements are

  often between 30 and 40 percent of any recovery.” George, 369 F.Supp.3d at 1383.

         Finally, the Parties agree that 33.3% of the common fund is a reasonable

  percentage for attorneys’ fees. Plaintiff’s counsel took this case on a contingency

  basis, which provides for the payment of attorneys’ fees in the amount of 40% of

  any settlement, and Plaintiff’s counsel has agreed to the substantially lower

  percentage of 33.3%. Because of this contingency fee arrangement, Plaintiff’s

  counsel has not received any payment for any of their time litigating the case

  since 2018, nor have they received reimbursement for their out-of-pocket costs

  expended.       Furthermore, Plaintiffs’ counsel, Michael N. Hanna, Esq. has

  extensive experience litigating wage and hour class/collective actions, and the




  293243 (M.D. Fla. Jan. 11, 2021); Reyes v. AT&T Mobility Serv., LLC, 2013 WL 12219252 (S.D. Fla.
  June 21, 2103) (approving 1/3 common fund for fees, or $1,084,875, and $23,000 in costs in wage
  and hour class and collective action); Seghroughni v. Advantus Rest., Inc., 2015 WL 2255278, at *1
  (M.D. Fla. May 13, 2015) (Awarding 1/3 of settlement fund to Plaintiff’s counsel for fees, and an
  additional $10,000 in costs in wage and hour class and collective action).



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  results in this matter warrant such an amount, given Defendants’ vigorous

  defense and the results obtained on the Plaintiffs’ behalf. 12

         Plaintiff’s Counsel undertook the financial risk of potentially unsuccessful

  litigation to recover overtime pay for workers they believe were not paid for all

  hours worked. In discussing the inherent risk of prosecuting FLSA collective

  action litigation on a contingency fee, the Northern District of Georgia stated:

         In undertaking to prosecute this complex case entirely on a contingent fee
         basis, Class Counsel assumed a significant risk of nonpayment or
         underpayment. . . . That risk warrants an appropriate fee. Indeed, a
         “contingency fee arrangement often justifies an increase in the award of
         attorney's fees.” Lunsford, 2014 WL 12740375, at *14, 2014 U.S. Dist. LEXIS
         200716, at *43 (citing Sunbeam, 176 F.Supp.2d at 1335 (quoting Behrens, 118
         F.R.D. at 548); see also In re Continental Ill. Sec. Litig., 962 F.2d 566 (7th Cir.
         1992) (holding that when a common fund case has been prosecuted on a
         contingent-fee basis, plaintiffs' counsel must be adequately compensated
         for the risk of non-payment); Ressler, 149 F.R.D. at 656 (“Numerous cases
         recognize that the attorney's contingent fee risk is an important factor in
         determining the fee award”) ).

  George, 369 F. Supp. 3d at 1380–8. The record here leaves no doubt that the fee

  request is appropriate and comports with fees awarded in similar cases.




  12 Mr. Hanna is an Equity Shareholder at the national law firm of Morgan & Morgan, P.A., and
  leads the firm’s Michigan office. He has represented thousands of clients as lead counsel or co-
  lead counsel in wage and hour class and/or collective action cases in multiple states and venues
  across the United States. See, e.g., Adams v. Gilead Group, LLC, 280 F. Supp. 3d 1358 (M.D. Fla.
  2017); Daoust v. Maru Rest., LLC, 2019 WL 2866490 (E.D. Mich. July 3, 2019); Simmons v. Mathis
  Tire & Auto Service, Inc., 2015 WL 5008220 (W.D. Tenn. Aug. 20, 2015); Kidd v. Mathis Tire & Auto
  Service, Inc., 2014 WL 4923004 (W.D. Tenn. Sept. 18, 2014); Leverett v. Primestar Painting, Inc. et.
  al., 2018 WL 3013660 (E.D. Mich. June 14, 2018); Kamin, et. al. v. R.K.J., et. al., Case No. 18-CV-
  11137 (E.D. Mich.); George v. Simon Brothers, Inc. et. al., Case No. 1:19-cv-00513-RJJ-PJG (W.D.
  Mich.).


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                                      Conclusion

        Wherefore, the Parties respectfully request that this Court approve the

  settlement agreement between the Parties, and dismiss this action with prejudice.

  The Parties agree that this is a fair settlement and that it is in both of their best

  interests to resolve this matter, pay the settled claims, and dismiss this matter.


  DATED this 27th day of July, 2021


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